DOCUMENTS UNDER SEAL
                      Case 3:20-cr-00138-JD Document 27 Filed 01/19/22 Page 1 of
                                                            TOTAL TIME (m ins):
                                                                                  1
                                                                                8 minutes
MAGISTRATE JUDGE                         DEPUTY CLERK                                REPORTER/',*,7$/5(&25',1*
MINUTE ORDER=220                      Melinda K. Lock                           12:02-12:10
MAGISTRATE JUDGE                          DATE                                        NEW CASE       CASE NUMBER
SALLIE KIM                                January 19, 2022                                          3:20-cr-00138-JD
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.      RET.
Esmun Moyses Moral-Raudales                        Y         P      Candis Mitchell                        APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
                                                                                  SUBMITTED              - Provisional
Molly Smolen                              Carol Rhine-Medina - Spanish
PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR             PARTIAL PAYMENT
Joseph Milliken                                                      APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING              IA REV PROB. or            OTHER
                                                                                   or S/R held
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA               PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED               TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME                  Esmun Moyses Morales-Raudales
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED           RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:
1/24/2022                        HEARING                  HEARING                 CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY            CHANGE OF               67$786
                                 AFFIDAVIT                 HEARING                PLEA                    Re: Detention
12:00 PM                                                   BBBBBBBBBBBBB
BEFORE HON.                      DETENTION                 $55$,*1MENT             MOTIONS                  JUDGMENT &
                                 HEARING                                                                    SENTENCING
Sallie KIm
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL                CONFERENCE                HEARING
                                 3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant consents to proceeding by video. The Court orders the Probation Office to release any discovery to the parties.


                                                                                         DOCUMENT NUMBER:
